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               9                                UNITED STATES DISTRICT COURT

              10                       FOR THE EASTERN DISTRICT OF CALIFORNIA

              11                  AND FOR THE NORTHERN DISTRICT OF CALIFORNIA

              12 MARCIANO PLATA, et al.,                                  Case No. C01-1351-JST

              13                 Plaintiffs,
                         v.
              14
                   GAVIN NEWSOM, et al.,
              15
                                 Defendants.
              16
                   RALPH COLEMAN, et al.,                                 Case No. CIV-S-90-0520-KJM-DB
              17
                                 Plaintiffs,
              18         v.

              19 GAVIN NEWSOM, et al.,

              20                 Defendants.

              21 JOHN ARMSTRONG, et al.,                                  Case No. C94-2307-CW
              22                 Plaintiffs,
                         v.
              23
                   GAVIN NEWSOM, et al.,
              24
                                 Defendants.
              25
                                                NOTICE OF FILING OF RECEIVER’S
              26                               FORTY-EIGHTH TRI-ANNUAL REPORT
              27

              28
FUTTERMAN DUPREE                   NOTICE OF FILING OF RECEIVER’S FORTY- EIGHTH TRI-ANNUAL REPORT
  DODD CROLEY            U.S.D.C. N. DIST. Case No.: C01-1351-JST, C94-2307-CW; E. DIST. Case No.: CIV-S-90-0520-KJM-DB
    MAIER LLP
                   Case 4:01-cv-01351-JST Document 3688 Filed 10/01/21 Page 2 of 35




               1         PLEASE TAKE NOTICE that Receiver J. Clark Kelso has filed herewith his Forty-

               2 Eighth Tri-Annual Report in Plata, et al. v. Newsom., et al., Case No. C01-1351-JST; Coleman,

               3 et al. v. Newsom, et al. Case No. CIV-S-90-0520-KJM-DB; and Armstrong, et al. v. Newsom, et

               4 al. Case No. C94-2307-CW.

               5

               6 Dated: October 1, 2021                                    FUTTERMAN DUPREE DODD CROLEY
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FUTTERMAN DUPREE                   NOTICE OF FILING OF RECEIVER’S FORTY- EIGHTH TRI-ANNUAL REPORT
  DODD CROLEY            U.S.D.C. N. DIST. Case No.: C01-1351-JST, C94-2307-CW; E. DIST. Case No.: CIV-S-90-0520-KJM-DB
    MAIER LLP
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Vision:

We enhance public safety and promote successful
community reintegration through education, treatment
and active participation in rehabilitative and restorative
justice programs.



Mission:

To facilitate the successful reintegration of the
individuals in our care back to their communities
equipped with the tools to be drug-free, healthy, and
employable members of society by providing education,
treatment, rehabilitative and restorative justice
programs, all in a safe and humane environment.
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Section 1: Status and Progress Concerning Remaining Statewide Gaps

A. Reporting Requirements and Reporting Format

This is the forty-eighth report filed by the Receivership, and the forty-second submitted by
Receiver J. Clark Kelso.

The Order Appointing Receiver (Appointing Order) filed February 14, 2006, calls for the Receiver
to file status reports with the Plata Court concerning the following issues:
    1. All tasks and metrics contained in the Turnaround Plan of Action (Plan) and subsequent
         reports, with degree of completion and date of anticipated completion of each task
         and metric.
    2. Particular problems being faced by the Receiver, including any specific obstacles
         presented by institutions or individuals.
    3. Particular success achieved by the Receiver.
    4. An accounting of expenditures for the reporting period.
    5. Other matters deemed appropriate for judicial review.
(Reference pages 2–3 of the Appointing Order at https://cchcs.ca.gov/wp-
content/uploads/sites/60/2017/08/2006-02-14 Order Appointing Receiver.pdf)

The Court’s March 27, 2014, Order Re: Receiver’s Tri-Annual Report directs the Receiver to
summarize in each Tri-Annual Report the level of care being delivered at California Health Care
Facility (CHCF); difficulties with recruiting and retaining medical staff statewide; sustainability of
the reforms the Receiver has achieved and plans to achieve; updates on the development of an
independent system for evaluating the quality of care; and the degree, if any, to which custodial
interference with the delivery of care remains a problem.

The Receiver filed a report on March 10, 2015, entitled Receiver’s Special Report: Improvements
in the Quality of California’s Prison Medical Care System wherein he outlined the significant
progress in improving the delivery of medical care in California’s prisons and also the remaining
significant gaps and failures that must still be addressed. The identified gaps are availability and
usability of health information; scheduling and access to care; care management; and health care
infrastructure at facilities.

To assist the reader, this Report provides two forms of supporting data:
    • Appendices: This Report references documents in the Appendices of this Report.
    • Website References: Website references are provided whenever possible.

In support of the coordination efforts by the three federal courts responsible for the major health
care class actions pending against California Department of Corrections and Rehabilitation
(CDCR), the Receiver files the Tri-Annual Report in three different federal court class action cases:
Armstrong, Coleman, and Plata. An overview of the Receiver’s enhanced reporting
responsibilities related to these cases and to other Plata orders filed after the Appointing Order
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can be found in the Receiver’s Eleventh Tri-Annual Report on pages 15 and 16.
(https://cchcs.ca.gov/wp-content/uploads/sites/60/2017/08/T11 20090601 11thTriAnnualReport.pdf)

Court coordination activities include: health care contracting; facilities, construction, and
activation; telemedicine, information technology, and the Electronic Health Records System
(EHRS); nursing; pharmacy; recruitment and hiring; statewide health care grievances;
institutional Chief Executive Officers; credentialing and privileging; and space coordination.

B. Progress during this Reporting Period

    (i)     COVID-19 Status
Responding to the COVID-19 pandemic continues to remain a high priority for both CDCR and
California Correctional Health Care Services (CCHCS). Response activities, tracking information,
and COVID-19 related communications can be found on the CDCR and CCHCS websites at
https://www.cdcr.ca.gov/covid19/covid-19-response-efforts/ and https://cchcs.ca.gov/covid-
19-interim-guidance/.

As of September 24, 2021, there have been 50,723 confirmed COVID-19 patient cases throughout
CDCR institutions, of which 49,606 have resolved, 615 were released while active, and 240 died.
262 cases are currently active within the patient population of CDCR institutions. There have
been 20,610 confirmed staff COVID-19 cases, with 20,253 resolved, and 357 current active cases.
There have been 39 staff deaths due to COVID-19.

During this reporting period, CDCR and CCHCS continued their ambitious campaign to offer the
Food and Drug Administration approved COVID-19 vaccines to all staff and incarcerated persons.
Subsequently, new COVID-19 infections declined to the lowest levels in over a year and
COVID-19 related hospitalizations and deaths declined markedly.

Due to these lower rates of infections and increased vaccination rates, inmate activity group
programs and religious services were resumed in early May 2021. Additionally, CDCR reopened
institutions to in-person and family visiting with strict testing protocols, physical distancing, and
masking requirements in place to protect staff, patients, and visitors.

In mid-July 2021, an increase in COVID-19 cases emerged among staff followed by the
incarcerated population. Genotyping determined that most of these cases have been due to the
Delta variant of COVID-19. The Employee Health Program initiated one-on-one counseling
sessions with all unvaccinated and partially vaccinated staff to answer their questions regarding
the COVID-19 vaccine. More than 5,000 one-on-one sessions have been held with staff thus far;
however, the program has been suspended to redirect resources to comply with the
August 19, 2021, California Department of Public Health order titled, “State and Local
Correctional Facilities and Detention Centers Health Care Worker Vaccination Order.” As of the
end of this reporting period, 56 percent of 66,000 CDCR and CCHCS staff have received at least
one dose of the vaccine.

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As of the end of this reporting period, 99 percent of the 99,672 incarcerated persons have been
offered the COVID-19 vaccine with an overall acceptance rate of 79 percent. Acceptance rates
have been highest among patients who are at the highest risk for hospitalization and death:
    • Patients 65 years old or greater: 93 percent
    • Patients with a COVID risk score ≥ 6: 94 percent
    • Patients with a COVID risk score ≥ 3: 89 percent

98 percent of those eligible for a third dose based upon an immunocompromising condition have
been offered a third dose with an overall acceptance rate of 91 percent.

The high vaccination rate among incarcerated persons has contributed to the sustained decline
of hospitalizations among this population.

The rise in positive cases during this reporting period, while disheartening, parallels the increase
in cases throughout California and the rest of the country during this same time period. With the
emergence of new strains of the COVID-19 virus, such as the more infectious and highly
transmissible Delta variant, preventive measures to slow the spread of the virus remain critical.
CDCR and CCHCS continue to encourage vaccination of both patients and staff, particularly those
staff working in institutions, and require regular, ongoing COVID-19 testing for all unvaccinated
staff at institutions, headquarters, regional and field offices. Additionally, utilization of personal
protective equipment and physical distancing measures continue to be monitored and enforced
at all institutions.

    (ii)    Patient Safety Budget Change Proposal
Over the past two years, CCHCS leadership has prioritized providing institutions with sufficient
staffing to meet industry patient safety standards. In July 2021, CCHCS received the first of
several new patient safety positions as part of a three-year allocation that will impact all
institutions statewide.

In December 2017, the Receiver contracted with staff from the Criminal Justice and Health
Program at the University of California, San Francisco (UCSF), to evaluate the services provided
by CCHCS in a number of areas, including the morbidity and mortality review process and
professional practice oversight. In May 2019, UCSF issued a report with findings and
recommendations specific to the Patient Safety Program.

In its review, UCSF compared CCHCS with community standards in the areas of program
organization; data acquisition; data analysis and health system strengthening; creating and
sustaining a culture of patient safety; and relationship to government and non-governmental
organizations that perform regulatory and oversight functions regarding patient safety. Though
the UCSF report identified a number of strengths in the CCHCS Patient Safety Program, such as
its use of electronic health record data and health care incident reporting for patient safety
surveillance and the use of evidence-based standards to strengthen health systems, UCSF found
a number of missing or deficient processes. In particular, UCSF noted that CCHCS lacked key

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functions, such as trigger systems for chart reviews and patient survey mechanisms, and that the
organization would require additional staff to implement a comprehensive program.

Prior to issuance of the UCSF patient safety report, CCHCS leaders had recognized that local
Quality Management Support Units (QMSUs) were struggling to manage the workload of
expanding Quality Management (QM) and Patient Safety Programs. When CCHCS first
established institution QMSUs in 2014, the organization pulled together resources with
performance improvement duties from three program areas and assigned a Health Program
Manager (HPM) III dual responsibilities overseeing both the QMSU and the Dental Program. As
the Dental Program began implementation of its new Electronic Dental Record System and the
QM and Patient Safety systems expanded to include the types of industry-standard activities
described in the UCSF report, the workload of managing both programs became overwhelming.
Similarly, one Health Program Specialist (HPS) I in the QMSU often covers Dental Program
operational tasks and is unable to participate fully in the QM aspects of their work.

CCHCS first sought to remedy the QMSU staffing deficit in Fiscal Year (FY) 2020-2021, during the
budget cycle immediately following dissemination of the UCSF patient safety report. That budget
request, among many others, was temporarily sidelined during the COVID-19 pandemic while the
State of California focused on responding to the public health emergency. CCHCS persisted and
successfully obtained additional QMSU staffing in FY 2021-2022.

The new QMSU positions will be distributed to institutions over a three-year period, beginning
with institutions with the most complex health care missions. In July 2021, the first ten
institutions received a fully dedicated HPM III for QM, and a new HPS I fully dedicated to patient
safety. In addition, a new unit of physician patient safety experts will be established at
headquarters QM to provide clinical support to institution Patient Safety Programs statewide,
including support and, in some cases, direct facilitation of root cause analyses.

    (iii)   Office of the Inspector General
The Office of the Inspector General (OIG) has completed Cycle 6 medical inspections at Valley
State Prison; California State Prison, Los Angeles; Wasco State Prison; California Correctional
Center (CCC); California State Prison, Solano; California Rehabilitation Center (CRC); California
State Prison, Corcoran (COR); California Medical Facility (CMF); North Kern State Prison (NKSP);
Salinas Valley State Prison (SVSP); Richard J. Donovan Correctional Facility (RJD); Substance Abuse
Treatment Facility (SATF); Folsom State Prison (FSP); California Correctional Institution (CCI);
Avenal State Prison (ASP); Kern Valley State Prison (KVSP); Central California Women’s Facility
(CCWF); California State Prison, Centinela (CEN); and Pelican Bay State Prison (PBSP). During this
reporting period, the OIG issued draft reports for SVSP; RJD; SATF; and CCI, as well as final reports
for CMF; NKSP; SVSP; and RJD. CMF and SVSP received inadequate ratings, while NKSP and RJD
received adequate ratings. Draft reports for FSP; ASP; KVSP; CCWF; CEN; and PBSP are pending
completion by the OIG.



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    (iv)     Delegations
As of the filing of this report, the Receiver has delegated the medical operations at 19 institutions
to the CDCR Secretary’s authority. No additional delegations were made during this reporting
period.

   (v)     Armstrong
During this reporting period, 13 Armstrong Monitoring Tours were scheduled. Plaintiffs
conducted 12 Armstrong Monitoring Tours; one was postponed at the request of Plaintiffs and is
pending a new date. CCHCS continues to coordinate with CDCR in examining the Armstrong
Monitoring Tour Reports and also provides updates to Plaintiffs on COVID-19 matters, including
data on Armstrong class members who are on quarantine or isolation status related to
COVID-19. In collaboration with Plaintiffs and the CCHCS Office of Legal Affairs, CDCR Office of
Legal Affairs, and Office of the Attorney General, CCHCS and CDCR have initiated various
workgroups, which meet frequently to address common concerns related to Armstrong class
members.

   (vi)      Integrated Substance Use Disorder Treatment

Integrated Substance Use Disorder Treatment Public Facing Dashboard
The Integrated Substance Use Disorder Treatment (ISUDT) public facing dashboard was released
during this reporting period and provides program performance and outcome measurements.
The dashboard, draws from a group of large databases multiple times per day to provide near
real-time information. Members of the public interested in tracking the progress of the ISUDT
program now have access to program information in a series of report views each with its own
tab. As ISUDT implementation continues, more report views and program metrics will be added
to the ISUDT Dashboard.

Screening & Assessments
Nursing Services continues to conduct substance use screening, utilizing the National Institute on
Drug Abuse (NIDA) Quick Screens, and Medical Services’ Licensed Clinical Social Workers (LCSWs)
continue to conduct substance use risk stratification utilizing the NIDA Modified Assist. During
this reporting period, approximately 27,417 patients were screened or assessed for Substance
Use Disorder (SUD) and approximately 7,183 patients were risk-stratified. Of those screened and
risk-stratified, 4,973 patients were referred for a Medication Assisted Treatment (MAT)
evaluation and 6,527 patients were referred for substance use related Cognitive Behavioral
Interventions (CBI).

Medication Assisted Treatment
During this reporting period, 4,635 patients were evaluated for clinical indication to receive MAT.
As of August 31, 2021, 5,074 patients are pending an initial consultation. Of those patients
assessed for MAT, 3,416 began receiving medication, with the current total population receiving
MAT at 12,121.


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Efforts continue to redistribute the administration of MAT from primarily morning medication
line to other medication line times to reduce congestion and wait times. As of August 2021,
approximately 7,500 patients received daily administrations of sublingual buprenorphine in the
morning medication line and approximately 4,300 patients received their buprenorphine at a
different administration time. Nursing, Medical, and Pharmacy Services will continue to monitor
and redistribute buprenorphine administration times away from the morning when it is clinically
feasible and does not disrupt resident programming.

Additionally, a MAT Alternative Agent Authorization form has been developed within CCHCS’
EHRS. This form allows providers to submit a request for patients to be reviewed for clinical
indication for transition from their current MAT medication to methadone or injectable
formulations of buprenorphine-naloxone or naltrexone.

Medical Provider and Licensed Clinical Social Worker Workforce
Possession of a United States Drug Enforcement Agency (DEA) X-waiver is required for providers
to prescribe buprenorphine and continues to be a high priority. CCHCS now has 479 X-waivered
providers, which is 98 percent of the civil service workforce. Of these X-waivered providers, 463
have increased their buprenorphine prescription limit from 30 patients to a patient limit of 100
or 275 patients, allowing them to care for a larger panel of patients on MAT. As of
August 31, 2021, 485 providers, which is 99 percent of the workforce, have received CCHCS’
customized MAT training. Following this initial customized training, a supplemental session has
been developed to provide additional guidance on proper preparation for and documentation of
a MAT visit.

To incentivize providers managing patients on MAT, CCHCS provided guidance on applying for
loan repayment through the Substance Use Disorder Treatment and Recovery Loan Repayment
Program (STAR LRP) offered through the Health Resources & Services Administration. The STAR
LRP offers up to $250,000 of loan repayment for providers in qualifying practice environments
who make a six-year commitment to serve. This opportunity will assist in the development of a
workforce experienced in SUD treatment by improving provider retention.

CCHCS is partnering with a contractor to develop trauma-informed care teams competent in
managing individuals with a history of trauma and SUD. The contractor conducted a survey
among LCSWs within Medical Services to determine potential knowledge gaps and training
needs. On August 26, 2021, the first training in response to these survey results was delivered,
titled, “Addressing Grief and Loss.” This training, along with additional trainings to follow, are
designed to support the ability of LCSWs to effectively conduct processing groups to support
patient recovery and resilience.

Transition Services
As reported in the forty-seventh Tri-Annual Report, Nursing Services, in collaboration with other
internal stakeholders, implemented Enhanced Pre-Release processes at all institutions. As part
of this process, discharge planning occurs for all patients releasing from CDCR. The resource

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teams conduct Pre-Release Weekly Huddles with Parole Service Associates, Transitional Case
Management Program Benefit Workers, Mental Health Pre-Release Coordinators, and other
partners as needed. As of August 31, 2021, the resource teams have successfully linked
approximately 616 MAT-prescribed patients to community providers for continuation of care.
Nursing Services has incorporated transition LCSWs to coordinate continuity of care for special
high-risk populations in the Enhanced Pre-Release process for safe reintegration back into
communities.

Cognitive Behavioral Interventions
Although CBI programming continues to be limited at institutions due to COVID-19 movement
restrictions, institutions are working to get as many participants as is safely possible back to
in-person programming. As of the end of this reporting period, 1,312 patients are participating
in packet programming, and 4,632 are participating in in-person programming.

ISUDT Insider
ISUDT patients continue to receive a monthly issue of the “ISUDT Insider,” a newsletter-style
publication that includes brain-teasing activities, inspiring patient feedback, notes of
encouragement from addiction expert Corey Waller, M.D., and CCHCS providers, and fillable
journal entries. Over 54,000 copies of this publication have been distributed to patients since
May 2021.

On August 23, 2021, “The ISUDT Leader,” the inaugural edition of the ISUDT electronic magazine
specifically for staff, was distributed via email to CDCR and CCHCS staff. The first issue of this
quarterly publication included program information and updates, messages from CDCR and
CCHCS leadership, inspirational stories from both staff and participants, and a look at the
unintended side effects of substance use.

C. Particular Problems Faced by the Receiver, Including Any Specific Obstacles Presented by
   Institutions or Individuals

    (i)    In-State Contracting for Community Correctional Facilities
During this reporting period, the contract with Taft Modified Community Correctional Facility
(MCCF) ended and the remaining patients were transferred the week of May 17, 2021. There
were no diagnosed or active COVID-19 cases at Taft MCCF during this reporting period. Due to
the closure of Taft MCCF, no remote or onsite audits were completed.

    (ii)    Healthcare Facilities Maintenance and Environmental Services
During this reporting period, the CCHCS’ Compliance Monitoring Unit (CMU) conducted
Healthcare Facilities Maintenance (HFM) assessments at KVSP; NKSP; California State Prison,
Sacramento; CMF; PBSP; RJD; Sierra Conservation Center; San Quentin State Prison; FSP; and
COR. Six of the ten institutions passed their assessment with a score of at least 80 percent while
four failed to achieve a passing score. In addition, follow-up site visits were conducted at several
institutions that scored less than 80 percent on the initial assessment during the previous

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reporting period. Upon completion of each institution assessment, a report is provided to both
California Prison Industry Authority HFM and institution leadership.

    (iii)   Health Care Infrastructure at Facilities
The Health Care Facility Improvement Program (HCFIP) continues to encounter delays in
completing projects throughout the State. The availability of labor to complete the projects
continues to be problematic and is consistent with the general market for construction labor.
HCFIP has also experienced delays related to existing facility conditions that were not adequately
addressed during the design phase of the program. These delays present operational challenges
for several institutions to provide health care in swing space and alternative settings. CCHCS
continues to work with institutions and CDCR Facilities Planning, Construction, and Management
to address concerns regarding phasing and swing space to minimize operational impacts to
institutions.

During this reporting period, there were successful completions and activations. These include
the A yard clinic, Administrative Segregation Unit clinic, and various subprojects in Central Health
Services at Calipatria State Prison; the C yard clinic and the Triage and Treatment Area at CCC;
the C yard clinic at CEN; all yard clinic additions at High Desert State Prison; and the B yard clinic
and a portion of Central Health Services at Ironwood State Prison.

As reported in the forty-seventh Tri-Annual Report, the new spaces at CCC were to be utilized
until the planned closure of the institution on June 30, 2022; however, closure activities are on
hold pending resolution of a temporary restraining order. The new spaces at CCC will continue
to be utilized until further notice.

As reported in the forty-seventh Tri-Annual Report, the Aleph Group Incorporated (AGI) delivered
the mobile medical clinic to CRC in April 2021. On-site work was projected to take a few days;
however, work was necessary until the end of July 2021 when the contract with AGI ended.
Inmate Ward Labor and Plant Operations have a number of tasks remaining that need to be
completed before the clinic can open. These tasks are anticipated to be completed in
October 2021 with the clinic opening in November 2021.

   (iv)   Scheduling and Ducating
Due to COVID-19 and in an effort to reduce the spread of the virus to staff and patients, all Health
Care Access Unit (HCAU) Operations Monitoring Audits (OMA) and Scheduling and Ducating
Program Special Reviews were placed on hold during this reporting period. Barring any
COVID-19 related health and safety restrictions, Corrections Services plans on reinitiating the
HCAU OMA process during fall 2021.

As a result of the Scheduling and Ducating Program Special Reviews, reliance on numerous ducats
for mental health Enhanced Outpatient Program (EOP) groups may potentially have a negative
impact on the delivery of health care services via the ducat process. As previously reported,
Corrections Services was in the process of testing a program at California Men’s Colony (CMC) to

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identify whether ducats related to EOP groups did impact the delivery of health care services.
The test program was suspended, however, due to COVID-19.

With CDCR and CCHCS implementing a revised “Roadmap to Reopening,” wherein institutions
will program in three different phases, Corrections Services has reconvened the workgroup with
representation from the Statewide Mental Health Program, Strategic Offender Management
System, CDCR Division of Adult Institutions, Office of the Special Master, and CMC leadership.
Meetings with various stakeholders are ongoing to solidify the scope of work and gather required
data.

Section 2: Other Matters Deemed Appropriate for Judicial Review

A. California Health Care Facility – Level of Care Delivered

CHCF’s health care leadership remains focused on ensuring the delivery of quality health care
services to its patient population. As of the end of this reporting period, CHCF is at just over 81
percent patient capacity (2,417 current population; 2,951 capacity) and 34 of the 36 budgeted
provider positions at CHCF are filled as follows:
    • Physician and Surgeon (P&S): 32 positions, 30 filled, 2 vacant
    • Nurse Practitioners: 1 position, 1 filled, 0 vacant
    • Physician Assistants: 3 positions, 3 filled, 0 vacant

As reflected in the August 30, 2021, Primary Care Provider Vacancy/Coverage Report (Refer to
Appendix 1), civil service telemedicine providers and contract registry providers are utilized to
deliver care at CHCF, which increases the available coverage to just under 98 percent of budgeted
positions for providers.

B. Statewide Medical Staff Recruitment and Retention

CCHCS is making progress in resolving the challenges present at the beginning of the
Receivership, which were outlined in the March 10, 2015, Special Report: Improvements in the
Quality of California’s Prison Medical Care System. Since that time, CCHCS has developed
strategies to adapt and respond to new challenges. Through frequent assessment of staffing
ratios, health care delivery models, and retention strategies, CCHCS has implemented a series of
flexible and continuously evolving solutions to ensure the delivery of timely, quality health care
services to patients through a stable provider workforce. As of August 30, 2021, 57 percent of
institutions (20 institutions) have achieved the goal of filling 90 percent or higher of their civil
service provider positions; 26 percent (9 institutions) have filled between 75 and 89 percent of
their civil service provider positions; and 17 percent (6 institutions) have filled less than
75 percent of their civil service provider positions. However, when on-site civil service,
telemedicine, and contract registry providers are utilized to deliver care statewide, coverage at
31 institutions is at or above 90 percent (refer to Appendix 1). The following summarizes the
continuous recruitment efforts during this reporting period:
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•   CCHCS’ focused recruiting and streamlined hiring efforts continue to produce a steady
    pipeline of candidates. From January 1 to August 31, 2021, CCHCS hired 18 new
    physicians, with 6 hired in the Telemedicine program, 1 hired at headquarters, 1 hired at
    a regional office, and 9 hired at institutions. Additionally, 3 new Advanced Practice
    Providers were hired at institutions. This represents a 61.54 percent increase in hires
    since the previous reporting period.
•   The Telemedicine Program continues to exhibit consistent hiring even while experiencing
    natural turnover. As of the end of this reporting period, the current telemedicine provider
    workforce is 86.49 percent filled, with 49.3 provider positions filled and 2 hires pending.
    With these hires, the program will be 90 percent filled.
•   With statewide provider fill rates remaining high, recruitment efforts are expanding to
    generate a new pipeline of candidates ready to provide critical administrative and clinical
    support to providers in the institutions. These efforts focus on outreach and engagement
    with local community colleges and universities to coordinate virtual information sessions
    with students and provide additional support of correctional health care as a career
    option of choice.
•   CCHCS and CDCR’s Psychiatric Inpatient Program Standardization and Integration Budget
    Change Proposal was approved on July 12, 2021. CCHCS has since completed its first-
    phase initiatives and is actively transitioning to the approved staffing model. Additional
    efforts include integrating operations, placing resources into each respective area, and
    continuing with robust recruitment.
•   In an effort to increase the efficient recruitment of hard-to-fill positions, recruitment staff
    are continuing to partner closely with regional and institution Human Resources staff to
    coordinate recruitment and hiring efforts, utilize best practices for candidate
    engagement, and ensure the organization’s seamless recruitment and hiring efforts are
    maintained.
•   CCHCS’ diversity strategic marketing outreach with CDCR continues. Current efforts focus
    on the first phase of the recruitment initiative which features nationwide branding
    campaigns launched across various digital platforms for immediate impact. Next phases
    will involve community outreach and social media engagement.
•   CCHCS’ Complete Candidate Engagement process for providers was assessed by executive
    leadership and an updated implementation plan is in development. Stages will include
    communication to all stakeholders, a phased roll-out plan with in-person and virtual
    presentations, and development of supporting policy and additional training materials.
    Modified roll-out to additional health care classifications is being considered.
•   As virtual recruiting events have become more prevalent over the past year, CCHCS is
    leveraging this change in the recruitment landscape by initiating the purchase of a
    platform that will allow the organization to host its own online recruitment and hiring
    events. These virtual events and information sessions can be held on a statewide,
    regional, or institutional level and will be tailored for specific educational cohorts or
    professionals. Additionally, the platform will serve to expand candidate attraction to
    remote geographical locations, where prior efforts required in-person, on-site events.


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   •   CCHCS is experiencing a critical need for registered nurses across the organization and
       particularly in hard-to-recruit rural locations. This recruitment challenge mirrors the
       ongoing struggle experienced by rural hospitals and clinics across the
       country. Additionally, this demand is being further exacerbated by the recent nationwide
       health care impact that is affecting the national health care workforce as a whole. As
       reported in the forty-seventh Tri-Annual Report, new targeted recruitment advertising
       was initiated for multiple nursing classifications at hard-to-fill locations. Print and digital
       advertising was implemented at the local level and included outreach to colleges in the
       immediate areas. Results have shown an increase in nursing candidates in these specific
       areas. Additional assessments will be conducted to determine if similar recruitment
       solutions can be implemented in other remote locations experiencing similar challenges.

C. Coordination with Other Lawsuits

Meetings between the three federal courts, Plata, Coleman, and Armstrong (Coordination
Group) class actions have occurred periodically. During this reporting period, the Coordination
Group met on May 7, 2021; June 9, 2021; and July 13, 2021.

D. Master Contract Waiver Reporting

On June 4, 2007, the Court approved the Receiver’s Application for a more streamlined,
substitute contracting process in lieu of state laws that normally govern state contracts. The
substitute contracting process applies to specified project areas identified in the June 4, 2007,
Order and in addition to those project areas identified in supplemental orders issued since that
date. The approved project areas, the substitute bidding procedures, and the Receiver’s
corresponding reporting obligations are summarized in the Receiver’s Seventh Quarterly Report
and are fully articulated in the Court’s Orders, and therefore, the Receiver will not reiterate those
details here.

The Receiver did not use the substitute contracting process during this reporting period.

E. Consultant Staff Engaged by the Receiver

The Receiver engaged the firm of Munger, Tolles & Olson LLP, to provide legal services, during
this reporting period.

F. Accounting of Expenditures

    (i)    Expenses
The total net operating expenses of the Office of the Receiver for the FY ending June 30, 2021,
were $4,115,306. A balance sheet and statement of activity and brief discussion and analysis is
attached as Appendix 2. For the two months ending August 31, 2021, the net operating expenses
were $847,330.

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    (ii)   Revenues
For the months of May and June 2021, the Receiver requested transfers of $950,000 from the
state to the California Prison Health Care Receivership Corporation (CPR) to replenish the
operating fund of the Office of the Receiver. Total year to date funding for FY 2020-2021 to the
CPR from the State of California is $4,100,000.

For the months of July and August 2021, the Receiver requested transfers of $675,000 from the
state to the CPR to replenish the operating fund of the Office of the Receiver.

All requested funds were received in a timely manner.




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TABLE OF APPENDICES
 1   Primary Care Provider Vacancy and Coverage Report – August 30, 2021

 2   CPR Financial Statements – May through August 2021
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                                                                                                          CALIFORNIA CORRECTIONAL HEALTH CARE SERVICES
                                                                                                           Primary Care Provider Vacancy / Coverage Report
                                                                                                                           August 30, 2021

                 Total         Telemedicine                                                                                                                                                                                                                    Projected Fill
                                                    Total   Filled with PCP % Filled by       Civil Service                              % Filled by Civil               Filled with                                                     Registry   Pending
              Authorized         Positions                                                                    TM Budgeted Telemedicine                     Civil Service               Total %   Net Adjusted Candidates Pending Civil                           Rate w/
Institution                                      Authorized    Onsite (No Civil Service        Vacancies                                    Service &                     Registry                                                        Open      Registry
              Positions at    Redirected from                                                                 by Institution Coverage                       Vacancies                   Filled    Vacancies in Pipeline Service Hires                            Pending
                                                  Positions     Telemed)      Onsite             Onsite                                   Telemedicine                       (FTE)                                                       Orders      Hires
              Institutions      Institutions                                                                                                                                                                                                                       Hires
    ASP           7.50              0.00             7.50           7.00          93.33%         0.50            0.00          0.00             93.33%        0.50          1.00       106.67%      (0.50)         -         1.00           -           -        120.00%
    CAC           4.00              0.00             4.00           4.00         100.00%         0.00            0.00          0.00            100.00%        0.00          0.00       100.00%       0.00          -           -            -           -        100.00%
    CAL           6.00              0.00             6.00           5.50          91.67%         0.50            0.00          1.00            108.33%       (0.50)         0.50       116.67%      (1.00)         -           -            -           -        116.67%
    CCC           3.50              1.00             4.50           2.00          57.14%         1.50            2.00          1.00            111.11%       (0.50)         2.00       155.56%      (2.50)         -           -            -           -        155.56%
    CCI           8.50              0.00             8.50           7.50          88.24%         1.00            0.00          1.00            100.00%        0.00          0.50       105.88%      (0.50)         -           -            -           -        105.88%
   CCWF          10.50              0.00            10.50          11.50         109.52%         (1.00)          0.00          0.00            109.52%       (1.00)         0.00       109.52%      (1.00)         -           -          3.00        0.50       114.29%
    CEN           5.00              1.00             6.00           4.00          80.00%         1.00            0.00          3.00            116.67%       (1.00)         0.00       116.67%      (1.00)         -           -          1.00          -        116.67%
   CHCF          36.00              1.00            37.00          34.00          94.44%         2.00            0.00          0.00             91.89%        3.00          2.25        97.97%       0.75          -           -            -           -         97.97%
 CHCF-PIP         0.00              0.00             0.00           0.00            n/a          0.00            0.00          0.00               n/a         0.00          0.00          n/a        0.00          -           -            -           -           n/a
    CIM          12.00              0.00            12.00          18.00         150.00%         (6.00)          0.00          0.00            150.00%       (6.00)         0.00       150.00%      (6.00)         -           -            -           -        150.00%
    CIW           7.50              0.00             7.50           7.00          93.33%          0.50           0.00          0.00             93.33%        0.50          1.00       106.67%      (0.50)         -           -            -           -        106.67%
   CMC           12.00              0.00            12.00          12.50         104.17%         (0.50)          0.00          0.00            104.17%       (0.50)         1.00       112.50%      (1.50)         -           -            -           -        112.50%
    CMF          17.00              0.00            17.00          13.80          81.18%          3.20           0.00          0.00             81.18%        3.20          1.00        87.06%       2.20          -         2.00           -           -         98.82%
 CMF-PIP          8.80              0.00             8.80           6.00          68.18%         2.80            0.00          0.00             68.18%       2.80           1.00        79.55%       1.80        2.00          -            -           -         79.55%
    COR           9.50              1.00            10.50           8.00          84.21%         1.50            0.00          2.00             95.24%        0.50          2.00       114.29%      (1.50)         -           -            -           -        114.29%
    CRC           5.50              0.00             5.50           6.00         109.09%         (0.50)          0.00          0.00            109.09%       (0.50)         0.00       109.09%      (0.50)         -           -            -           -        109.09%
    CTF          11.00              2.00            13.00          10.00          90.91%         1.00            0.00          2.00             92.31%        1.00          0.40        95.38%       0.60          -           -          1.00        1.00       103.08%
   CVSP           4.50              0.50             5.00           3.00          66.67%         1.50            1.00          1.00            100.00%       0.00           0.00       100.00%       0.00        1.00          -          1.00          -        100.00%
    DVI           2.50              0.00             2.50           3.00         120.00%         (0.50)          0.00          0.00            120.00%       (0.50)         0.00       120.00%      (0.50)         -           -            -           -        120.00%
    FSP           7.00              0.00            7.00           8.00          114.29%         (1.00)          0.00          0.00            114.29%       (1.00)         0.00       114.29%      (1.00)         -           -            -                    114.29%
   HDSP           7.00              1.00            8.00           4.00          57.14%          3.00            0.00          1.00            62.50%        3.00           2.25        90.63%      0.75           -           -            -          -          90.63%
     ISP          2.50              3.00            5.50           2.00          80.00%          0.50            0.00          2.00            72.73%        1.50           0.75        86.36%      0.75           -           -            -          -          86.36%
   KVSP           8.00              1.00            9.00           7.00          87.50%          1.00            0.00          2.60            106.67%       (0.60)         0.00       106.67%      (0.60)         -           -          1.00         -         106.67%
    LAC          10.00              0.00            10.00           7.00          70.00%         3.00            0.00          1.00             80.00%        2.00          1.00        90.00%       1.00        1.00        2.00         1.00         -         110.00%
   MCSP          17.50              0.00            17.50          13.50          77.14%         4.00            0.00          0.00             77.14%        4.00          1.00        82.86%       3.00          -           -            -          -          82.86%
   NKSP           9.00              1.00            10.00          11.00         122.22%         (2.00)          0.00          0.00            110.00%       (1.00)         0.00       110.00%      (1.00)         -           -          1.00         -         110.00%
   PBSP           4.50              1.00             5.50           2.00          44.44%         2.50            0.00          2.40             80.00%        1.10          1.00        98.18%       0.10          -           -          1.00       1.00        116.36%
   PVSP           6.00              0.00             6.00           5.00          83.33%         1.00            0.00          1.30            105.00%       (0.30)         0.00       105.00%      (0.30)         -           -            -          -         105.00%
    RJD          15.50              0.00            15.50          17.00         109.68%         (1.50)          0.00          0.00            109.68%       (1.50)         0.00       109.68%      (1.50)         -           -            -          -         109.68%
    SAC           7.00              1.00             8.00           8.00         114.29%         (1.00)          0.00          0.00            100.00%       0.00           2.80       135.00%      (2.80)       1.00          -            -          -         135.00%
   SATF          12.00              2.50            14.50          11.00          91.67%         1.00            0.00          3.00             96.55%        0.50          0.50       100.00%       0.00          -           -            -          -         100.00%
    SCC           5.50              1.00             6.50           5.00          90.91%         0.50            0.00          1.00             92.31%        0.50          0.00        92.31%       0.50          -           -          1.00       0.75        103.85%
    SOL           9.50              1.00            10.50           9.00          94.74%         0.50            0.00          1.00             95.24%        0.50          0.00        95.24%       0.50          -           -            -          -          95.24%
     SQ          10.00              1.00            11.00          12.40         124.00%         (2.40)          0.00          2.00            130.91%       (3.40)         1.80       147.27%      (5.20)         -           -            -          -         147.27%
   SVSP          11.50              1.00            12.50           6.00          52.17%         5.50            0.00          0.00             48.00%       6.50           4.60        84.80%      1.90         1.00        1.00           -          -          92.80%
 SVSP-PIP         3.30              0.00             3.30           1.00          30.30%         2.30            0.00          0.00             30.30%       2.30           3.00       121.21%      (0.70)         -           -            -          -         121.21%
    VSP           7.50              2.00             9.50           6.00          80.00%         1.50            0.00          0.00             63.16%       3.50           2.60        90.53%      0.90           -           -          2.00       2.00        111.58%
   WSP            8.50              1.50            10.00          11.00         129.41%         (2.50)          0.00          1.00            120.00%       (2.00)         1.00       130.00%      (3.00)         -           -            -          -         130.00%
  TOTALS        333.10             24.50           357.60         308.70         92.67%          24.40           3.00         29.30            95.36%        16.60         34.95       105.13%     (18.35)       6.00        6.00        13.00       5.25        108.28%


                                                   # by Civil
               # by Civil                                       # of Pending    # of Pending Projected # if
                             # by Civil Service &   Service,
Compliance      Service                                         Civil Service     Registry Candidates and
                                  Telemed         Telemed, &
                Onsite                                              Hires           Hires    Registry Hired
                                                   Registry
  ш ϵϬй          20.00              27.00            32.00          3.00           5.25          34.00                    19 Delegated Institutions
80% - 90%         8.00               3.00             4.00          3.00           0.00           2.00                    13 Institutions Receiving 15% Pay Differential
  < 80%           9.00               7.00             1.00          0.00           0.00           1.00
   n/a           1.00                1.00             1.00          0.00           0.00           1.00




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